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 7

 8                                    UNITED STATES BANKRUPTCY COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

10 In re                                                 Case No. 8:23-bk-10571-SC

11 THE LITIGATION PRACTICE GROUP P.C.,                   Chapter 11

12                        Putative Debtor.               SUPPLEMENTAL DECLARATION OF
                                                         RICHARD A. MARSHACK REGARDING
13                                                       DESIGNATION OF A MONITOR IN
                                                         CONJUNCTION WITH MOTION OF
14                                                       TRUSTEE RICHARD A. MARSHACK
                                                         FOR ENTRY OF AN ORDER (A)
15                                                       APPROVING SALE, SUBJECT TO
                                                         OVERBID, OF ASSETS FREE AND
16                                                       CLEAR OF ALL LIENS, CLAIMS,
                                                         ENCUMBRANCES AND INTERESTS
17                                                       PURSUANT TO 11 U.S.C. § 363(b) AND
                                                         (B) APPROVING ASSUMPTION AND
18                                                       ASSIGNMENT OF CERTAIN
                                                         EXECUTORY CONTRACTS AND
19                                                       UNEXPIRED LEASES AND OTHER
                                                         AGREEMENTS
20
                                                         Date: July 21, 2023
21                                                       Time: 10:00 a.m.
                                                         Ctrm: 5C-Virtual1
22                                                       Location: 411 W. Fourth St.
                                                                   Santa Ana, CA 92701
23
     ///
24
     ///
25

26
     1
     This hearing date is designated Zoom Only, pursuant to Judge Clarkson’s self-calendaring
27
   procedures. Video and audio connection information for each hearing will be provided on Judge
28 Clarkson’s publicly posted hearing calendar, which may be viewed online at: http://ecf-
   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
                                               1
            SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK IN SUPPORT OF SALE MOTION
     4884-5510-4113,v.1
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 1                            Supplemental Declaration of Richard A. Marshack
 2            I, RICHARD A. MARSHACK, declare as follows:
 3            1.          I am an individual over 18 years of age and competent to make this Declaration.
 4            2.          If called upon to do so, I could and would competently testify as to the facts set forth
 5 in this Declaration.

 6            3.          I am the duly appointed Chapter 7 Trustee of the bankruptcy estate (“Estate”) of The
 7 Litigation Practice Group P.C. (“Debtor” or “LPG”).

 8            4.          I make this Declaration in support of the Motion of Trustee Richard A. Marshack for
 9 Entry of an Order (A) Approving Sale, Subject to Overbid, of Assets Free and Clear of all Liens,

10 Claims, Encumbrances and Interests Pursuant to 11 U.S.C. § 363(B) and (B) Approving Assumption

11 and Assignment of Certain Executory Contracts and Unexpired Leases and Other Agreements

12 (“Motion”).

13            5.          I am writing this declaration solely to address one issue; the process of selecting a
14 monitor. I believe there should absolutely not be an appearance of connection relating to this

15 appointment and that is why I required that every potential bidder agree that this Court will make the

16 decision. Let’s be realistic. If the Committee or even I were to be vested with the power to appoint

17 there would, of course, exist a natural tendency to select a person that would see life the way we

18 want them to see it. The highest priority in the selection is independence, intelligence and integrity.

19 To that end, I have concluded that this Court should have the sole power to select. I have

20 independently researched and determined that I would recommend Professor Nancy Rapoport and I

21 have no objections to others making a recommendation.

22            6.          As stated, this is completely this Court’s decision and to the best of my knowledge I
23 have never met nor have I ever talked to Professor Nancy Rapoport. The only reason I would even

24 recognize her is because I googled her name and saw her picture. I recommend her based on my

25 understanding that she is bright, experienced, independent and has integrity. I have come to this

26 conclusion by asking a several colleagues about her and every person I have asked says she is

27 independent, intelligent, hardworking, and has integrity. All have stated that she has substantial

28
                                               2
            SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK IN SUPPORT OF SALE MOTION
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: SUPPLEMENTAL DECLARATION OF RICHARD A.
MARSHACK REGARDING DESIGNATION OF A MONITOR IN CONJUNCTION WITH MOTION OF TRUSTEE RICHARD
A. MARSHACK FOR ENTRY OF AN ORDER (A) APPROVING SALE, SUBJECT TO OVERBID, OF ASSETS FREE AND
CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b) AND
(B) APPROVING ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
LEASES AND OTHER AGREEMENTS will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 20,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On July 20, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO TRUSTEE
 THE LITIGATION PRACTICE GROUP P.C.
 17542 17TH ST, SUITE 100
 TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on July 20, 2023, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 20, 2023                  Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




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. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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